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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Szymon Sanak
                            Plaintiff,
v.                                                 Case No.: 1:22−cv−04999
                                                   Honorable Elaine E. Bucklo
Newrez LLC
                            Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 28, 2022:


       MINUTE entry before the Honorable Elaine E. Bucklo: The courts sets the
following briefing schedule on Plaintiff's motion to remand as follows: Defendant's
response is due by 10/19/2022. Plaintiff's reply is due by 11/2/2022. Ruling before
Honorable Elaine E. Bucklo on 12/14/2022 at 9:45 a.m. Defendant's unopposed motion to
stay complaint answer deadline pending court's ruling on motion to remand [10] is
granted. Mailed notice. (mgh, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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